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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CLARENCE DEES,                        )
                                      )
       Plaintiff,                     )
                                      )        CIVIL ACTION NO.
       v.                             )          2:17cv535-MHT
                                      )               (WO)
KARLA JONES, Warden,                  )
et al.,                               )
                                      )
       Defendants.                    )

                                   OPINION

       Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner,      filed        this    lawsuit    claiming     that       the

defendant correctional officials failed to protect him

from    an   attack    by    another      inmate,   that   one   of    the

defendants used excessive force on him while breaking

up the fight, that the defendant medical personnel were

deliberately indifferent to his medical needs after the

attack, and that certain defendants conspired against

him to deprive him of access to the inmate grievance

process.      This lawsuit is now before the court on the

recommendation of the United States Magistrate Judge
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that defendants' motion for summary judgment should be

granted.       Also    before     the    court     are    plaintiff’s

objections to the recommendation.            After an independent

and de novo review of the record, the court concludes

that plaintiff’s objections should be overruled and the

magistrate judge’s recommendation adopted.

    An appropriate judgment will be entered.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
